      Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 1 of 7



 1   ROBERT C. SCHUBERT S.B.N. 62684
     WILLEM F. JONCKHEER S.B.N. 178748
 2   SCHUBERT JONCKHEER & KOLBE LLP
     Three Embarcadero Center, Suite 1650
 3   San Francisco, California 94111
     Telephone: (415) 788-4220
 4   Facsimile: (415) 788-0161
     rschubert@sjk.law
 5   wjonckheer@sjk.law
 6   ANDERSON & WANCA
     BRIAN J. WANCA (pro hac vice)
 7   RYAN M. KELLY (pro hac vice)
 8   ROSS M. GOOD (pro hac vice)
     GLENN L. HARA (pro hac vice)
 9   3701 Algonquin Road, Suite 500
     Rolling Meadows, IL 60008
10   Email: bwanca@andersonwanca.com
     Email: rkelly@andersonwanca.com
11   Email: rgood@andersonwanca.com
     Email: ghara@andersonwanca.com
12
     Class Counsel
13
14                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
15
       TRUE HEALTH CHIROPRACTIC, INC., and                No.    4:13-cv-02219-HSG
16
       MCLAUGHLIN CHIROPRACTIC
17     ASSOCIATES, INC., individually and as the
       representatives of a class of similarly-situated   DECLARATION OF ROSS M. GOOD IN
18     persons,                                           SUPPORT OF PLAINTIFF’S
                                       Plaintiffs,        ADMINISTRATIVE MOTION TO FILE
19
                      v.
20                                                        District Judge: Hon. Haywood S. Gilliam, Jr.
       MCKESSON CORPORATION, MCKESSON
21     TECHNOLOGIES, INC., and JOHN DOES 1-               Trial Date: October 18, 2021
       10,                                                Time: 8:30 a.m.
22
23                                   Defendants.

24
25
26
27                                                                                       4:13-cv-02219-HSG
     DECLARATION OF ROSS M. GOOD IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE
28   MOTION TO FILE
       Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 2 of 7



 1             I, Ross M. Good, declare as follows:
 2             1.     I am an attorney at Anderson + Wanca, counsel for Plaintiffs, True Health

 3   Chiropractic, Inc. and McLaughlin Chiropractic Associates, Inc., and am admitted pro hac vice in

 4   this action. I have personal knowledge of the following and could competently testify thereto if

 5   called upon to do so.

 6             2.     I submit this declaration in accordance Civil Local Rule 7-11.

 7             3.     Plaintiffs seek to file Exhibit A to the Declaration of Ross M. Good, a true and

 8   correct copy of a document produced by Defendants which Defendants have not provided to the

 9   Court.

10             4.     Exhibit A is a true and correct copy of an email Defendants’ counsel sent to a phone

11   carrier which was produced by Defendants in response to a request by Plaintiff’s Counsel in this

12   matter.

13             5.     On September 23, 2021, Plaintiff’s Counsel requested additional email

14   correspondence from Defendants’ Counsel regarding communications with Frontier and Verizon.

15   As of this filing, Defendants’ Counsel has yet to provide said correspondence.

16             6.     On September 27, 2021, Plaintiff reached out to Defendants’ counsel asking if they

17   would file a copy of these documents since they are the party that produced same. Defendants

18   indicated they would not consent to the filing of any communication between Defendants and a

19   telephone carrier as it is not evidence of anything.

20             7.     Exhibit B is the correspondence between Plaintiff’s Counsel and Defendants’

21   Counsel from September 27, 2021

22             I declare under penalty of perjury that the foregoing is true and correct.

23
     Executed on: September 28, 2021                         s/Ross M. Good
24
25
26
27
28                                                       1                                  4:13-cv-02219-HSG
     DECLARATION OF ROSS M. GOOD IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE
     MOTION TO FILE
Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 3 of 7




                EXHIBIT A
      Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 4 of 7


From:           Lau, Bonnie
To:             tami.ware@verizon.com
Cc:             Lupfer, Erin P.
Subject:        True Health v. McKesson - Request for Verizon
Date:           Tuesday, August 17, 2021 7:33:17 AM
Attachments:    09-24-2020 Verizon Subpoena Response.pdf



Hi Tami,

I obtained your contact information through my friend and colleague Gabrielle Kohlmeier,
assistant general counsel and head of competition policy at Verizon. I represent McKesson in
a TCPA fax case in the Northern District of California. In that case, Plaintiffs’ counsel recently
served Verizon with a subpoena for information about 1,357 phone numbers Plaintiffs believe
Verizon serviced in 2009-2010. Plaintiffs’ counsel (Anderson + Wanca) issued a similar
subpoena to Verizon in a different TCPA fax case called Career Counseling v. Amerifactors
(District of South Carolina). Anderson + Wanca presumably plans to do the same in each of
their future TCPA fax cases. We were hoping to get a sense of how Verizon plans to respond.

As you may be aware, Plaintiffs’ goal is to determine how phone subscribers received faxes
during the 2009-2010 class period – on a standalone fax machine or via online fax services
(efax), which is an element of the TCPA. To do so, Plaintiffs’ counsel ask Verizon, “For each
telephone number on the list for the date(s) listed, identify whether or not you provided
online fax service to the subscriber of that telephone number.” When served with this same
subpoena topic in Counseling v. Amerifactors, Verizon first responded that, “Verizon does not
have information available to allow it to determine whether the customer associated with the
telephone numbers used the number with a fax or online fax service. Verizon therefore has
no information responsive to this request.” We believe you may have signed the attached
response. We also understand that Verizon later responded that it does not provide online
fax service, but we do not have a copy of that response.

Is our understanding correct that Verizon does not know and does not have a mechanism to
determine whether a subscriber received faxes on a standalone fax machine or through an
online fax service? If so, we would like to confirm that testimony in our case, which is
proceeding to trial on October 18. We hope to show that Plaintiffs’ counsel’s plan to identify
online fax service users versus standalone fax machine users through subpoenas to phone
carriers like Verizon is fundamentally flawed. The goal will be to achieve a favorable result
that will discourage Plaintiffs’ counsel from resorting to these subpoenas in every single TCPA
fax case they file, which would otherwise burden Verizon and other phone carriers.

We hope you can help us or connect us to others on the Verizon security subpoena
compliance team to discuss. Thank you in advance for your assistance!

BONNIE LAU



                                                                                        RS-TRUEHEALTH 004782
Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 5 of 7




                                             EXHIBIT B
           Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 6 of 7


From:             Lupfer, Erin P.
To:               Ross Good; Cheung, Tiffany; Lau, Bonnie; Grant, Jessica; Cain, Lyndsey H.
Cc:               Glenn Hara; Willem F. Jonckheer; Michelle Osborn; Matthew Stubbs; Sue Fitzgerald
Subject:          RE: True Health v. McKesson - Admin Mtn for Leave to file RS-TRUEHEALTH004782 to RS-TRUEHEALTH004824
Date:             Monday, September 27, 2021 5:33:17 PM


Ross: Defendants do not plan to file RS-TRUEHEALTH004782-4824 with the Court because it is not evidence.
Even if it were, the Court has not directed or permitted Defendants to file anything further at this time. (See ECF
No. 457 at 2:4-5 (“. . . Defendants may not include any further expert declarations or other evidentiary
material.”).)

Please include Defendants’ position in your administrative motion: Defendants oppose Plaintiffs’ administrative
motion. The Court has stated that it “is interested only in identifying and reviewing the carriers’ substantive
responses.” (ECF No. 461.) Plaintiffs have already filed Verizon’s substantive response with the Court. (ECF
No. 460-7 at TCSR000648-649.) Filing RS-TRUEHEALTH004782-4824 would only add to the “voluminous filings”
that the Court expressly stated that it “is not interested in wading through.” (ECF No. 461.) Defendants believe
the administrative motion should be denied. If any of the correspondence at RS-TRUEHEALTH004782-4824 is
filed, such documents should be stricken from the record.

Best,
Erin

ERIN P. LUPFER
P: +1 (858) 314-7632


From: Ross Good <rgood@andersonwanca.com>
Sent: Monday, September 27, 2021 12:33 PM
To: Lupfer, Erin P. <ELupfer@mofo.com>; Cheung, Tiffany <TCheung@mofo.com>; Lau, Bonnie
<BLau@mofo.com>; Grant, Jessica <JGrant@mofo.com>; Cain, Lyndsey H. <LCain@mofo.com>
Cc: Glenn Hara <ghara@andersonwanca.com>; Willem F. Jonckheer <wjonckheer@sjk.law>; Michelle Osborn
<mosborn@andersonwanca.com>; Matthew Stubbs <mstubbs@mojolaw.com>; Sue Fitzgerald
<sfitzgerald@andersonwanca.com>
Subject: True Health v. McKesson - Admin Mtn for Leave to file RS-TRUEHEALTH004782 to RS-
TRUEHEALTH004824


External Email




Counsel,
Plaintiff intends to file an Administrative Motion seeking leave to file RS-TRUEHEALTH004782 to RS-
TRUEHEALTH004824 on the docket. Since McKesson produced the documents, Mckesson could file
the documents itself. Please advise no later than 3pm Pacific whether McKesson will file the documents
itself. If we hear nothing, Plaintiff will go ahead and seek leave to file the documents.

Thanks

--
Ross Good
Anderson + Wanca
3701 Algonquin Rd., Suite 500
Rolling Meadows, IL 60008
rgood@andersonwanca.com - EMail
       Case 4:13-cv-02219-HSG Document 472-1 Filed 09/28/21 Page 7 of 7


(847) 350-9861 - Direct Phone
(847) 350-9861 - Direct Fax
(847) 368-1500 - Office Phone
(847) 368-1501 - Office Fax

============================================================================


This message may be confidential and privileged. Use or disclosure by anyone other than an intended
addressee is prohibited. If you received this message in error, please delete it and advise the sender by
reply email. Learn about Morrison & Foerster LLP’s Privacy Policy.
